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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

   IN RE:                                            §       Case No. 20-11085
   KENYETTA JARELLE LONG                             §
         Debtor                                      §       Chapter 7
                                                     §       Judge Meredith S. Grabill
                                                     §
   LOUISIANA WORKFORCE COMMISSION                    §
        Plaintiff                                    §
                                                     §
   VS.                                               §       Adv. No. 20-01052
                                                     §
   KENYETTA JARELLE LONG                             §
       Defendant                                     §



      NOTICE OF HEARING ON PLAINTIFF’S UNOPPOSED MOTION FOR STATUS
                              CONFERENCE

   NOTICE IS HEREBY GIVEN OF A HEARING ON THE FOLLOWING MOTION:

   TITLE OF MOTION:                    Plaintiff’s Unopposed Motion for Status Conference

   Moving Party:                       Creditor, Louisiana Workforce Commission

   Date and Time of Hearing:           December 16, 2020 at 1:00 p.m.

   Response Deadline:                  November 26, 2020

   Place of Hearing:                   United States Bankruptcy Court, 500 Poydras St.,
                                       Courtroom B-709, New Orleans, LA 70130. Telephonic
                                       Hearings: Dial in Telephonic Number 888-684-8852
                                       Access Code: 9318283.

   Purpose of Hearing:                 To consider and rule on said Motion and any objections filed
                                       thereto.


         PLEASE FINALLY TAKE NOTICE that objections are to be filed in writing with the

   Clerk of the United States Bankruptcy Court with a copy served upon undersigned counsel,

   not later than November 26, 2020. If no objections are filed, the Court will determine the
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   motion on an ex parte basis.

                       Respectfully submitted this 17th day of November 2020.

                                      /s/Stacey Wright Johnson
                                   Stacey Wright Johnson #27331
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                                       Baton Rouge, LA 70802
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